                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

 JITENDRA JAIN, MANISH ARORA,
 SCARIYA KUMARAMANGALAM,
 HARSH DATTA, and
 BALVANT ARORA,

             Plaintiffs,

 v.                                           Case No.: 8:20-cv-2263-T-33JSS

 NEXGEN MEMANTINE
 INC., SUREN AJJARAPU,
 ANNAPURNA
 GUNDLAPALLI, GAJAN
 MAHENDIRAN, NEXGEN
 LIFESCIENCES LLC,
 TRXADE GROUP, INC., and
 G&S COAL TRADERS, LLC,

            Defendants
 ______________________________________/

        PLAINTIFFS’ MOTION TO COMPEL DEFENDANT NEXGEN
          MEMANTINE, INC.’S PRODUCTION OF DOCUMENTS

      Plaintiffs, Jitendra Jain, Manish Arora, Scariya Kumaramangalam, Harsh

Datta, and Balvant Arora (collectively the “Plaintiff Investors”), by and through

undersigned counsel and pursuant to Federal Rule of Civil Procedure 37, hereby

move this Court to enter an order compelling Defendant, Nexgen Memantine, Inc.

(“Defendant Nexgen Memantine”), to produce documents and communications

involving Dean Kent, Esq., and Trenam Law, and state the following:



                                       1
       1.     On November 30, 2015, Defendants Suren Ajjarapu and Gajan

Mahendiran created Defendant Nexgen Memantine, a Wyoming corporation,

purportedly to develop and manufacture a generic form of memantine, an

Alzheimer’s drug.

       2.     After the Articles of Incorporation were filed, it is unclear whether

any further corporate formalities occurred, including establishing a Board of

Directors, appointing directors, passing bylaws, or any other corporate formalities,

particularly because Defendant Nexgen Memantine is withholding all corporate

documents prior to the first investment by Plaintiff Investors on January 19, 2016. 1

       3.     Defendants Ajjarapu and Mahendiran solicited Plaintiff Investors to

invest money in Defendant Nexgen Memantine throughout 2015 and into 2016.

       4.     Throughout January and February of 2016, Plaintiff Investors

invested a total sum of $425,000 into Defendant Nexgen Memantine, thus

becoming shareholders of the company.

       5.     Between April 1, 2016, and December 20, 2016, Defendant Ajjarapu

laundered a total of $1,185,000 from Defendant Nexgen Memantine to Defendant

Mahendiran, through intermediary entities, via six separate wire transfers.




1Despite Plaintiff Investors' right to corporate records under Wyoming statutes and noticed
requests for production, Nexgen Memantine is withholding these documents from Plaintiff
Investors.


                                               2
       6.      The transfers described in paragraph 5 effectively occurred in the

following manner:




       7.      On or before November 27, 2018 2, nearly two years after the six wire

transfers to Defendant Mahendiran, Defendant Ajjarapu personally retained Dean

Kent (“Attorney Kent”) and his law firm, Trenam Law (“Trenam”), to investigate

the six transfers described in paragraph 5 and 6 above.

       8.      During two Special Shareholder Meetings, on November 27, 2018 (the

“2018 Shareholder Meeting”) and August 13, 2019 (the “2019 Shareholder

Meeting”), Defendant Ajjarapu and Attorney Kent solicited Plaintiff Investors to

join the investigation against Defendant Mahendiran.

       9.      In the 2018 and 2019 Shareholder Meetings, Attorney Kent claimed he

was the attorney for Defendant Nexgen Memantine.

       10.     On September 25, 2020, Plaintiff Investors filed this lawsuit, which

includes claims against Defendant Ajjarapu and Defendant Nexgen Memantine.


2 The exact date that Attorney Kent was retained by Defendant Ajjarapu is unknown to Plaintiff
Investors because the relevant communications and information pertaining to Attorney Kent’s
representation are being withheld under attorney-client privilege and are partially the subject of
this Motion. Fully redacted emails involving Defendant Ajjarapu’s email addresses and Attorney
Kent dating as far back as September 29, 2017, were produced to Plaintiff Investors, but without
access to the contents, Plaintiff Investors are unable to ascertain the start of the representation.


                                                 3
       11.    As part of their discovery requests on Defendant Nexgen Memantine,

Plaintiff Investors requested production of “any and all documents or information

gathered by Trenam Law on behalf of the Corporation regarding that certain

investigation of Dr. Gajan Mahendiran and the corporation’s bank accounts or

funds.” This request was made based on Plaintiff Investors’ belief that Defendant

Nexgen Memantine possessed the responsive documents.

       12.    On October 12, 2021, Defendant Nexgen Memantine produced a

privilege log which included communications involving Attorney Kent and

Trenam, confirming Defendant Nexgen Memantine possessed the responsive

communications. A copy of Defendant Nexgen Memantine’s privilege log is

attached to this Motion as Exhibit A 3.

       13.    All information involving Attorney Kent was withheld by Defendant

Nexgen Memantine under the attorney-client privilege. See Ex. A.

       14.    On November 5, 2021, Defendant Nexgen Memantine supplemented

their production with some, but not all, fully redacted emails involving Attorney

Kent and Defendant Ajjarapu’s email address, along with unredacted documents

that were attached to said emails.




3For convenience, the privilege log attached as Exhibit A has been modified to only contain the
relevant entries for this Motion. Upon request, the entire unmodified privilege log can be
provided to the Court.


                                               4
      15.    Since the initial investigation, Defendant Ajjarapu has claimed that he

is merely a shareholder of Nexgen Memantine, both individually and through his

ownership of Nexgen Lifesciences, LLC (“Nexgen Lifesciences”).

      16.    As further detailed below, Plaintiff Investors are entitled to all

documents and communications between Attorney Kent, Trenam, and Defendant

Ajjarapu and/or Defendant Nexgen Memantine as listed in Defendant Nexgen

Memantine’s privilege log.

                             MEMORANDUM OF LAW

                             STANDARD OF REVIEW

      A party seeking discovery may move for an order compelling production if

a party fails to produce documents as requested under Rule 34. Fed. R. Civ. P.

37(a)(3)(B)(iv). A district court has discretion over a motion to compel discovery.

See, e.g., Holloman v. Mail-Well Corp., 443 F.3d 832 (11th Cir. 2006) (“a district court

is allowed a ‘range of choices’ in such matters”). A district court can only deny a

motion to compel discovery “if it concludes that the questions are irrelevant.”

Commercial Union Ins. Co. v. Westrope, 730 F.2d 729, 733 (11th Cir. 1984). The party

resisting discovery bears the burden of establishing a lack of relevancy or undue

burden in supplying the requested information. Gober v. City of Leesburg, 197 F.R.D.

519, 521 (M.D. Fla. 2000).




                                           5
        When parties submit a privilege log asserting privileges as to certain

documents, “[t]he standard for testing the adequacy of the privilege log is

whether, as to each document, it sets forth specific facts that, if credited, would

suffice to establish each element of the privilege or immunity that is claimed.” CSX

Transportation, Inc. v. Admiral Insurance Co., No. 3:93-cv-00132, 1995 WL 855421

(M.D.Fla. Aug. 23, 1995) at *3. Conclusory statements are not sufficient to support

a claim of privilege. Id. Here, Defendant Nexgen Memantine bears the burden to

establish that every communication listed in their privilege log meets the standard

for attorney-client privilege. See St. Joe. Co. v. Liberty Mutual Co., No. 3:05-cv-1266-

J-25MCR, 2006 WL 3391208 at *7 (M.D. Fla. Nov. 22, 2006); Cutrale Citrus Juices USA

v. Zurich American Ins. Group, No. 5:03-CV-420-OC-10GRJ, 2004 WL 5215191 (M.D.

Fla. Sep. 10, 2004) at *4.

  I.    The attorney-client privilege does not apply to the communications
        between Attorney Kent, Trenam, and Defendant Ajjarapu and/or
        Defendant Nexgen Memantine as asserted by Defendant Nexgen
        Memantine.

        Defendant Nexgen Memantine cannot sustain its burden of proving that the

attorney-client privilege applies to the communications between Attorney Kent,

Trenam, and Defendant Ajjarapu and/or Defendant Nexgen Memantine, because

Attorney Kent represented the shareholders first, and Nexgen Memantine second

- if at all.




                                           6
         Where the court’s jurisdiction is premised upon a federal question, as is the

case here, the federal rule of privilege applies. See Hancock v. Hobbs, 967 F.2d 462,

467 (11th Cir. 1992). The attorney-client privilege protects communications

between a client and his attorney made in confidence and for the purpose of

securing legal advice or assistance. Cox v. Adm’r U.S. Steel & Carnegie, 17 F.3d 1386,

1414 (11th Cir. 1994). “The party invoking the attorney-client privilege has the

burden of proving that an attorney-client relationship existed and the particular

communications were confidential, intended to remain confidential, and under the

circumstances were reasonably expected and understood to be confidential.” Id.

   1. Attorney Kent was jointly representing the shareholders of Defendant
      Nexgen Memantine, not Defendant Nexgen Memantine.

         To properly invoke attorney-client privilege, a communication must be

“between a lawyer and client not intended to be disclosed to third persons other

than those to whom disclosure is in furtherance of the rendition of legal services,

or those reasonably necessary for the transmission of the communication.” Tyne v.

Time Warner Entertainment Co., 212 F.R.D. 596, 598 (M.D.Fla. 2002). Also, no

privilege applies between clients in a joint representation when a dispute arises

between the clients. United States v. Almeida, 341 F.3d 1318, 1324-1325 (11th Cir.

2003).

         Here, the key element is the identities of the “lawyer” and the “client.”

Defendant Nexgen Memantine, through its privilege log, asserts that it was the

                                           7
client, Attorney Kent was their attorney, and that all the communications between

Attorney Kent, Trenam, and Defendant Ajjarapu and/or Defendant Nexgen

Memantine are not discoverable. However, both the privilege log and discussion

at the Special Shareholder Meetings facially contradict this assertion.

        The 2018 Shareholder Meeting was held “to consider and vote upon a

proposal to engage litigation counsel to pursue potential claims against Gajan

Mahendiran arising from his transactions with [Nexgen Memantine] relating to

Westminster Pharmaceuticals.” See relevant portions of the 2018 Shareholder

Meeting transcript, attached hereto as Exhibit B at 1. Defendant Ajjarapu presided

over the 2018 Shareholder Meeting as secretary of Defendant Nexgen Memantine,

purportedly by proxy from Annapurna Gundlapalli, who is purportedly

Defendant Nexgen Memantine’s secretary. 4




4 Plaintiff Investors are unsure of Defendant Gundlapalli’s position in Defendant Nexgen
Memantine because Plaintiff Investors have been denied all corporate documents, meeting
minutes, and voting records of shareholders and directors from November 30, 2015 (the date of
Defendant Nexgen Memantine’s inception) through January 25, 2016, which is likely when
corporate formalities, if any, were conducted and recorded in Defendant Nexgen Memantine’s
records. In response to Plaintiff Investors’ discovery requests regarding these documents,
Defendant Nexgen Memantine’s counsel unilaterally decided that only corporate documents
after January 26, 2016 to present are relevant and discoverable. According to opposing counsel’s
responses, production of Nexgen Memantine’s corporate documents between November 30, 2015
(the date of inception) to January 25, 2016 is an “overly broad” request that provides opposing
counsel with “no relevant timeframe.” Plaintiff Investors contend these corporate documents are
highly relevant and the requests are not “overly broad” as Plaintiff Investors specified exactly
what corporate documents are requested. Notwithstanding this contention, Plaintiff Investors
will more fully explore this improper denial of reasonable requests in a separate motion.


                                               8
       When Attorney Kent was first introduced by Defendant Ajjarapu’s personal

attorney, Richard McIntyre, he stated “I have been engaged by Nexgen Memantine

to determine to what extent it may have claims'' against Defendant Mahendiran.

Id. at 9:19-9:25 (emphasis added). Later, Attorney Kent stated “the scope of my

representation would entail any personal or contractual dealings between Suren

individually, and … Gajan Mahendiran. My role is limited to representation of

Nexgen Memantine.” Id. at 11:19-11:23 (emphasis added). Shortly thereafter, Mr.

McIntyre explained to Plaintiff Investors that “if there are Memantine assets that

need to be protected, that’s what Mr. Kent is here to do … I think anybody that’s

a shareholder would want to hear what their options are before deciding

summarily not to proceed.” Id. at 15:13-15:19. Attorney Kent also provided that

“[w]hether [any] claims are acted upon by the shareholders or not is up to the

shareholders.” Id. at 19:5-19:6; See also id. at 40:10-40:15.

       Upon receipt of the privilege log and heavily redacted emails involving

Attorney Kent, Trenam, and purportedly Defendant Nexgen Memantine 5, it is


5 Plaintiff Investors’ ability to discern the Nexgen Memantine actor(s) in the communications
listed on Defendant Nexgen Memantine’s privilege log is further hampered by the fact that
Defendant Nexgen Memantine does not have a central email server, so all of its emails are sent
and received through Defendant Ajjarapu’s personal email accounts. Because the same attorneys
represent both Defendant Ajjarapu and Defendant Nexgen Memantine, it is impossible for
Plaintiff Investors to know if a “communication constituting legal advice” that lists attorneys,
who represent both Defendants Nexgen Memantine and Ajjarapu, along with one of Defendant
Ajjarapu’s email addresses is a communication involving legal advice for Defendant Ajjarapu or
Defendant Nexgen Memantine. It is also curious that despite Defendant Nexgen Memantine
claiming the privilege to these communications, many of the emails at issue were sent and
received through personal emails that belong to Defendant Ajjarapu but appear to be related to


                                               9
revealed that communications and the exchange of documents involving Attorney

Kent began as far back as September 29, 2017, more than one year prior to the 2018

Shareholder Meeting that was supposed to be the official vote on whether to

initiate Attorney Kent’s to investigate at all. See Ex. A at 6. Since Defendant

Ajjarapu personally initiated the investigation in September 2017, the 2018

Shareholder Meeting was merely a sham orchestrated by Defendant Ajjarapu, a

theme consistent across the investigation.

       It was also emphasized at the 2018 Shareholder Meeting that Defendant

Nexgen Memantine failed to conduct some or all of the required corporate

formalities when it was incorporated. Indeed, Defendant Ajjarapu’s personal

attorney, Mr. McIntyre, confirmed the “very legitimate concern” that corporate

formalities had not occurred, and advised the shareholders that “with regard to

officers, directors, corporate structures, … there’s some things to get in order with

regard to the general corporate affairs of [Nexgen Memantine].” Ex. B at 22:20-

23:2. These “things” were never addressed as no other shareholder meetings ever

occurred.




other entities that Defendant Ajjarapu is involved with, including Trxade and Sansur Associates.
This not only further evidences Attorney Kent was representing Defendant Ajjarapu and Plaintiff
Investors as opposed to Defendant Nexgen Memantine, but also increases the need for Plaintiff
Investors to review the emails claimed as privileged, as it is not known who, if anyone, was acting
on behalf of Defendant Nexgen Memantine and what authority, if any, they had to do so.


                                                10
      Due to Defendant Nexgen Memantine’s failure to conduct the requisite

corporate formalities, there was no proper creation of a board of directors or

appointment of corporate officers. As a result, no one had authority to contract

and enter into a representation agreement with Attorney Kent on behalf of

Defendant Nexgen Memantine. Instead, Defendant Ajjarapu personally initiated

an investigation using Attorney Kent without authority from Defendant Nexgen

Memantine and used the 2018 and 2019 Shareholder Meetings to have the

shareholders somehow ratify the investigation as if they were the board of

directors. But shareholders (including Defendant Ajjarapu) are not directors or

officers of a corporation and do not have any power or authority to bind the

corporation itself.

      In the 2019 Shareholder Meeting, that Defendant Ajjarapu again presided

over, purportedly by proxy from Defendant Gundlapalli, Attorney Kent

recommended that shareholders, including Plaintiff Investors, collectively vote to

pursue litigation against Defendant Mahendiran. See relevant portions of the 2019

Shareholder Meeting transcript, attached hereto as Exhibit C, at 8:13-8:24. In

addition, Defendant Ajjarapu said the following to Plaintiff Investors:

      Another thing I want to add to the shareholders is I am funding the legal
      case here as a shareholder, so we've got to find a resolution here. Because if
      we're going to court with the legal, all the shareholders have to come to an
      understanding and pay for the legal expenses because so far I have funded as a
      shareholder and a substantial stake in the company, even though I'm only 12


                                        11
      percent, but I'm trying to get this resolved. I'm pursuing on behalf of all the
      shareholders. I just want to get it on the record.

      Id. at 11:24-12:8 (emphasis added).

      Based on the above facts, it is clear a joint representation amongst the

shareholders, including Plaintiff Investors, was created. Thus, Attorney Kent

created a direct fiduciary relationship with all shareholders. If Attorney Kent were

to fail in his investigation to obtain accurate findings (which he did), Plaintiff

Investors stood in a position to be directly harmed (which they were) as it has cost

them several years and significant funds to investigate the misappropriation of

funds themselves (which this lawsuit seeks to accomplish in place of Attorney

Kent’s investigation).

      When Defendant Ajjarapu began communicating with Attorney Kent and

Trenam Law in September 2017, he was doing so in a personal capacity as a

shareholder. Consequently, the votes to investigate taken in the 2018 and 2019

Shareholder Meetings were not taken by or on behalf of Defendant Nexgen

Memantine. Rather, these meetings were merely between shareholders of

Defendant Nexgen Memantine, who agreed in their personal capacities to engage

Attorney Kent to investigate Defendant Mahendiran and recommend possible

legal claims. This is especially evident upon Defendant Ajjarapu’s request that all

shareholders split the litigation costs if claims were brought against Defendant

Mahendiran.

                                         12
      Because there was a joint representation between the shareholders of

Defendant Nexgen Memantine, including Defendant Ajjarapu and Plaintiff

Investors, and because Attorney Kent was not properly retained by Defendant

Nexgen Memantine, the requested material does not qualify under attorney-client

privilege. Plaintiff Investors were repeatedly promised transparency and access to

all aspects of Attorney Kent’s investigation and are now being denied access to

them despite being represented by Attorney Kent during the investigation.

      Accordingly, Plaintiff Investors are entitled to production of the

communications between Attorney Kent, Trenam, and Defendant Ajjarapu

and/or Defendant Nexgen Memantine because Plaintiff Investors are clients of

Attorney Kent. Consequently, Defendant Nexgen Memantine should be

compelled to fully produce these communications.

II.   Even if Defendant Nexgen Memantine retained Attorney Kent (and not
      the shareholders) and can properly assert attorney-client privilege,
      Plaintiff Investors have good cause to pierce the claimed privilege.

      When a corporation invokes the attorney-client privilege between itself and

 its attorney, the privilege can be set aside upon a showing of good cause by the

 party against which the privilege is asserted. Garner v. Wolfinbarger, 430 F.2d 1093,

 1095 (5th Cir. 1970); In re Braniff, Inc., 153 B.R. 941, 944 (Bankr. M.D. Fla. 1993)

 (adopting Garner); See also Moore v. Lender Processing Servs., No. 3:12-cv-205-J-




                                         13
99TJC-MCR, 2012 WL 10829341 *3 (M.D. Fla. Nov. 5, 2012) (endorsing the

rationale in Garner).

     In Garner, the court analyzed whether a corporation could invoke privilege

against disclosure of communications between itself and its attorney when

shareholders of the corporation sue the corporation and its officers for injuring

shareholders’ interests. The court pierced the attorney-client privilege asserted,

reasoning    the   corporation     had    to   disclose   communications    because

“management judgment must stand on its merits, not behind an ironclad veil of

secrecy which under all circumstances preserves it from being questioned by

those for whom it is . . . exercised.” Id. at 1101, 1103-04.

     In Garner, the Fifth Circuit listed nine factors to consider in determining

whether shareholders have “good cause” to pierce the attorney-client privilege:

(1) the number of shareholders and percentage of ownership in the company; (2)

the nature of the shareholders’ claim; (3) the necessity of the information and

whether the information is available elsewhere; (4) whether the wrongful

corporate action alleged is criminal or of doubtful legality; (5) the relation of the

communications to past or prospective actions; (6) whether the communication

is of advice concerning the litigation itself; (7) how clearly the communications

are identified; and (8) the risk that the information contains confidential

information, such as trade secrets. Id. at 1104.



                                          14
         The four most relevant factors to this case—good faith, nature of the claims,

    relation to the litigation, and availability of the information—clearly weigh in

    favor of Plaintiff Investors. 6 Plaintiff Investors are making a good faith attempt

    to discover relevant corporate records that cannot be found anywhere other than

    from Defendant Nexgen Memantine. Plaintiff Investors are not trying to obtain

    communications regarding this ongoing litigation, but rather are looking to

    obtain communications involving Defendant Nexgen Memantine and Attorney

    Kent. The information contained in those communications is highly relevant to

    Plaintiff   Investors’     claims      of    securities      fraud,     racketeering,        and

    misrepresentation.

         Regarding the “nature of the claims” factor, Plaintiff Investors’ claims

    include securities fraud, racketeering, and misrepresentation, which are all

    evidenced by the actions of Defendants Ajjarapu and Nexgen Memantine,

    including the conduct and communications involving Attorney Kent. In addition,

    the source and use of Defendant Nexgen Memantine’s funds is a crucial element


6 Plaintiff Investors contend that all eight factors weigh in their favor. Briefly regarding the four
factors not fully discussed, (1) the five Plaintiff Investors collectively own 8% of Defendant
Nexgen Memantine, and factoring in the deadlock and inability of Nexgen Lifesciences to vote,
controlled approximately 40% of the voting stock during the 2018 and 2019 Shareholder
Meetings; (2) this Motion has highlighted just a small sample of the criminal, or at the least
legally doubtful, conduct of Defendants Nexgen Memantine and Ajjarapu; (3) the
communications all relate to past actions, as Attorney Kent’s representation ended upon the
2019 Shareholder Meeting and Attorney Kent does not currently represent any party in this
litigation; and (4) the information requested has effectively no risk of revealing trade secrets,
particularly as Defendant Nexgen Memantine was a mere shell company and never actually
developed or attempted to develop its claimed memantine drug.


                                                 15
in Plaintiff Investors’ securities fraud claims. Information regarding the transfer

of Plaintiff Investors’ funds from Nexgen Memantine to Defendant Mahendiran

is essential to proving that claim

     The requested communications will assist Plaintiff Investors in discovering:

what, if any, corporate formalities were undertaken that authorized Defendant

Ajjarapu to retain Attorney Kent on behalf of Defendant Nexgen Memantine

(which is Defendant Nexgen Memantine’s justification for its assertion of the

privilege); why Defendant Ajjarapu funneled Plaintiff Investors’ funds through

intermediate entities and ultimately to Defendant Mahendiran; why Defendant

Ajjarapu then initiated a sham investigation against Defendant Mahendiran

regarding the “stolen” funds when Defendant Ajjarapu initiated the transfers

himself; and additional information regarding why Plaintiff Investors’ funds

were funneled out of Defendant Nexgen Memantine within months of the

Plaintiff Investors’ investments.

     Plaintiff Investors are entitled to the communications and documents given

to Attorney Kent from Defendant Ajjarapu to understand how the investigation

was framed, what assumptions were made, what facts were discovered, what

conclusions were drawn, what efforts were genuinely made to discover

wrongdoing, or if in fact the entire investigation was a sham to throw off Plaintiff

Investors.



                                        16
       This information is not available elsewhere, as the communications were

 between Defendant Ajjarapu and Attorney Kent, and frequently included

 Defendant Ajjarapu’s personal counsel. Attorney Kent never published any

 written reports of his findings and conclusions, so the only source of information

 is confined to the communications between Defendant Ajjarapu, Defendant

 Nexgen Memantine, and Attorney Kent.

       As all nine Garner factors weigh in Plaintiff Investors’ favor, this Court

should find that Plaintiff Investors have “good cause” for piercing any attorney-

client privilege asserted by Defendant Nexgen Memantine on communications

between Attorney Kent, Trenam, and Defendant Ajjarapu and/or Defendant

Nexgen Memantine. Accordingly, this Court should require disclosure of the

contents of those communications to Plaintiff Investors pursuant to their discovery

request.

III.   As an independent ground entitling Plaintiff Investors to production of
       the relevant communications and documents, all defendants are barred
       from asserting attorney-client privilege under the crime-fraud exception.

       Under the crime-fraud exception, communications made by a client to an

 attorney before or during the commission of a crime are not privileged. When

 determining whether the crime-fraud exception applies, federal courts apply a

 two-part test:

       First, there must be a prima facie showing that the client was engaged
       in criminal or fraudulent conduct when he sought the advice of

                                        17
     counsel, that he was planning such conduct when he sought the
     advice of counsel, or that he committed a crime or fraud subsequent
     to receiving the benefit of counsel's advice. Second, there must be a
     showing that the attorney's assistance was obtained in furtherance of
     the criminal or fraudulent activity or was closely related to it.

Cox v. Administrator U.S. Steel & Carnegie, 17 F.3d 1386, 1416 (11th Cir. 1994).

     To invoke the crime-fraud exception to attorney-client privilege, one must

establish the client was engaged in or planning a fraudulent scheme when it

sought advice of counsel. In Re Grand Jury Proceedings, 87 F.3d 377, 381 (9th Cir.

1996); See also In re Cutuli, No. 11–bk–35256, 2013 WL 5236711, (Bankr.S.D.Fla.

Sept. 16, 2013). However, the attorney is not required to have participated in the

client's criminal activity. Id. at 382. Assuming Defendant Nexgen Memantine

could properly assert attorney-client privilege, it is precluded from doing so as

the crime-fraud exception applies.

  1. Plaintiff Investors can make a prima facie case showing that Defendant
     Nexgen Memantine was engaged in criminal or fraudulent activity when it
     sought the advice of Attorney Dean Kent.

     Plaintiff Investors meet the first part of the test for the crime-fraud exception

established in Cox. It is clear Defendant Ajjarapu was engaging in fraudulent

conduct, purportedly on behalf of Defendant Nexgen Memantine, when he

sought the advice of Attorney Kent, despite having no authority to do so.

Defendant Nexgen Memantine did not go through any of the required corporate

formalities upon incorporating. Plaintiff Investors believe the corporate entity



                                        18
    was set up as a way for Defendant Ajjarapu to launder funds to Defendant

    Mahendiran to satisfy pre-existing personal obligations to Defendant

    Mahendiran. As a result, Defendant Nexgen Memantine had no bylaws, no board

    of directors, and did not go through any formal process for appointing qualified

    directors. 7

          Defendant Ajjarapu admitted that he personally transferred the funds from

    Nexgen Memantine to Defendant Mahendiran. A copy of the relevant admissions

    made by Defendant Ajjarapu are attached hereto as Exhibit E. After taking

    Plaintiff Investors’ money and wiring it to Defendant Mahendiran, Defendant

    Ajjarapu hired Attorney Kent to “investigate” the missing funds on behalf of

    Defendant Nexgen Memantine—knowing he himself was the sole cause of the

    “missing” funds—in an attempt to disguise the transactions and make it appear

    as though Defendant Mahendiran had stolen the funds.

          This is a clear example of fraudulent activity and is directly related to

    allegations in the pleadings of fraudulent misuse of corporate funds in Plaintiff

    Investors’ claims of securities fraud, racketeering, and misrepresentation.

    Defendant Ajjarapu used Defendant Nexgen Memantine to funnel money away


7  Annual reports produced by Defendant Nexgen Memantine indicate that Defendants
Mahendiran and Gundlapalli were somehow made directors. However, it is unclear how they
were appointed as all documents relevant to this purported election of directors are being
withheld by opposing counsel. See also n. 3, supra. In addition, Defendant Mahendiran has
asserted in discovery responses that he was never elected as a director or officer. A copy of
relevant discovery responses is attached hereto as Exhibit D.


                                             19
from Plaintiff Investors, through other entities controlled by Defendant Ajjarapu,

into Defendant Mahendiran’s personal bank account. Defendant Ajjarapu then

wrongfully used Memantine to conduct an “investigation” to rinse his unclean

hands. Defendant Nexgen Memantine was clearly involved in fraudulent or

criminal activity when Attorney Kent was engaged to conduct that same

investigation.

  2. Plaintiff Investors can show Attorney Kent’s assistance was obtained in
     furtherance of fraudulent activity or closely related to the 10(b)(5) violations
     that are the subject matter of this lawsuit.

     Defendant Nexgen Memantine, through the conduct of Defendant Ajjarapu,

used Attorney Kent to further the fraudulent activity by misleading Plaintiff

Investors. Upon retaining Attorney Kent, Defendant Ajjarapu began sharing

documents and information with Attorney Kent in an effort to frame Defendant

Mahendiran. One year later, in some kind of attempt to expose Defendant

Mahendiran, Defendant Ajjarapu presided over the 2018 and 2019 Shareholder

Meetings (without the requisite authority) and convinced Plaintiff Investors to

initiate a joint shareholder investigation against Defendant Mahendiran under

the guise that Defendant Mahendiran stole the funds from Nexgen Memantine

and defrauded the company.

     From there, Defendant Ajjarapu continued communicating and sharing

information with Attorney Kent, purportedly on behalf of Nexgen Memantine,



                                        20
 without including the Plaintiff Investors, all while knowing the entire time that

 he himself wired the funds out of Nexgen Memantine. Defendant Ajjarapu’s

 misrepresentations are clearly highlighted during the 2019 Shareholder Meeting,

 when the following exchange occurred:

      Dr. Arora: Now, one of the questions that I have, Suren, so the
      money -- the money was in the account he was transferring? Did I
      understand that correctly?
      Mr. Kent: I think so, yeah. That’s what it seems to me, yeah.
      …
      Mr. Saslow: Somebody who had signing authority on the account
      authorized those --
      Dr. Arora: Do you know who that authority was?
      …
      Mr. Ajjarapu: We are investigating that…. The [Nexgen Memantine]
      account is fraudulent and they’re not willing to cooperate to give the
      information…

      See Ex. C, 14:2-14:7, 14:21-14:23, and 15:9-15:15:12.

      Despite saying he did not know who had authority to initiate the transfers,

Defendant Ajjarapu has now admitted to being the “fraudulent” actor he

previously referred to. See Ex. E. This discrepancy demonstrates Defendant

Nexgen Memantine, through the conduct of Defendant Ajjarapu, constantly

misled Plaintiff Investors throughout the investigation and utilized Attorney Kent

to perpetuate this scheme, whether Attorney Kent was aware of it or not.

      Lastly, Defendant Ajjarapu’s admissions that he made the transfers of funds

 to Defendant Mahendiran contradict the conclusions of Attorney Kent. Attorney

 Kent concluded the funds “went all directly to Gajan individually” and agreed

                                         21
that Defendant Mahendiran was “syphoning off money out” of Defendant

Nexgen Memantine. See Ex. C, 9:5-9:7, 9:11-9:14. Attorney Kent also said he was

unable to obtain any underlying information “in connection with the purposes or

who authorized or signed any of the transfers.” Id. at 16:16-16:21. Given the vast

contacts over a years’ time between Defendant Ajjarapu and Attorney Kent prior

to and after the investigation (now being withheld under claim of attorney-client

privilege), it is incredible Attorney Kent never discovered Defendant Ajjarapu

initiated the wire transfers himself - not Defendant Mahendiran.

     The conclusions stated on the record by Attorney Kent, which directly

contradict Defendant Ajjarapu’s admissions, indicate Attorney Kent either

assisted in the furtherance of Defendant Nexgen Memantine’s fraudulent

conduct or fell victim to Defendant Ajjarapu’s fraudulent conduct. Plaintiff

Investors have serious doubts that after one year of investigating and

communicating with Defendant Ajjarapu and his personal attorney (McIntyre),

Attorney Kent would conclude Defendant Mahendiran had stolen the funds,

unless of course there was fraudulent conduct on the part of Defendant Ajjarapu

and Defendant Nexgen Memantine to disguise these truths from Attorney Kent -

which there most likely was.

     Regardless of how Attorney Kent failed to uncover any accurate

information about the transfers, the facts show Defendant Ajjarapu fraudulently



                                       22
 laundered Plaintiff Investors’ money through Defendant Nexgen Memantine to

 Defendant Mahendiran by wiring it through intermediate entities to disguise the

 source of the funds. Defendant Ajjarapu’s actions, purportedly taken on behalf of

 Defendant Nexgen Memantine, clearly fall within the crime-fraud exception and

 therefore permit Plaintiff Investors to access communications between Attorney

 Kent, Trenam, and Defendant Ajjarapu and/or Defendant Nexgen Memantine.

 As a result, this Court should find Plaintiff Investors are entitled to those

 communications under the crime-fraud exception.

                                     CONCLUSION

      Plaintiff Investors are entitled to communications between Attorney Kent,

Trenam, and Defendant Ajjarapu and/or Defendant Nexgen Memantine. There is

no valid attorney-client privilege between Defendant Nexgen Memantine and

Attorney Kent. Defendant Nexgen Memantine failed to elect an individual to

contract on behalf of itself. Therefore, Defendant Ajjarapu’s attempt to ratify an

investigation he had already personally initiated created a joint representation

with Plaintiff Investors. Thus, Defendant Nexgen Memantine cannot raise

attorney-client privilege against Plaintiff Investors.

      Even if Defendant Nexgen Memantine properly retained Attorney Kent on

its behalf and could assert attorney-client privilege, Plaintiff Investors have shown




                                          23
good cause to pierce the claimed privilege and allow discovery of communications

between Defendant Nexgen Memantine and Attorney Kent.

      As a separate ground to compel discovery, the crime-fraud exception

applies to bar any claim of attorney-client privilege. Defendant Ajjarapu,

purportedly acting on behalf of Defendant Nexgen Memantine, embezzled

Plaintiff Investors’ funds to Defendant Mahendiran, then attempted to disguise

the transfers by claiming the funds were stolen and pointing the finger at

Defendant Mahendiran. As part of this scheme, Defendant Ajjarapu utilized

Attorney Kent to conduct a sham investigation of the transfers. Based on these

facts, this Court should find the communications between Attorney Kent, Trenam,

and Defendant Ajjarapu and/or Defendant Nexgen Memantine are not privileged

due to the crime-fraud exception.

      WHEREFORE Plaintiffs respectfully request that this Court enter an Order

compelling Defendant Nexgen Memantine to produce the communications

between Attorney Kent, Trenam, and Defendant Ajjarapu and/or Defendant

Nexgen Memantine as indicated in Defendant Nexgen Memantine’s produced

privilege log.

                        Local Rule 3.01(g) Certification

      The movant certifies the movant has conferred with the opposing party, but

the parties were not able to agree on the resolution of the dispute herein. A



                                      24
substantive discussion occurred on November 3, 2021, between the movant and

the counsel of record for Defendant Nexgen Memantine to discuss this dispute,

but the parties were unable to resolve the matter.

Dated: November 16, 2021.
                                        Respectfully submitted,
                                        /s/ Joseph F. Southron
                                        Joseph F. Southron, Esq.
                                        Florida Bar Number: 122109
                                        FOUR RIVERS LAW FIRM
                                        400 N. Ashley Drive, Suite 1720
                                        Tampa, Florida 33602
                                        Telephone: (813) 773-5105
                                        Fax: (813) 773-5103
                                        E-Mail: joe@fourriverslaw.com
                                        Secondary E-Mail:
                                        eservice@fourriverslaw.com
                                        Attorney for Plaintiffs


                           CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the forgoing was filed on

November 16, 2021, with the Court via CM/ECF system, which will send

notification of such filing to all parties and counsel of record.


                                               /s/ Joseph F. Southron
                                               Joseph F. Southron
                                               Florida Bar No. 122109




                                          25
